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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

MARY JONES,                                       §
                                                  §
        Plaintiff,                                §
                                                  §
vs.                                               §                      CVIL ACTION NO.:
                                                  §
SAFECO INSURANCE COMPANY                          §
OF AMERICA,                                       §
                                                  §
        Defendant.                                §

                          DEFENDANT’S NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §1446(a) and Local Rule CV-81(a), Defendant Safeco Insurance

Company of Indiana (“Safeco” or “Defendant”), improperly served and sued as Safeco Insurance

Company of America, files this Notice of Removal, hereby removing this action from the District

Court, 160th Judicial District of Dallas County, Texas to the United States District Court for the

Northern District of Texas, Dallas Division. Removal is based on diversity jurisdiction because

there is complete diversity between Plaintiff Mary Jones (“Plaintiff”) and Safeco, and the amount

in controversy exceeds $75,000.00, exclusive of interest and costs. In support of its Notice of

Removal, Defendant would respectfully show the Court as follows:

                                                I.

                                       INTRODUCTION

        This dispute arises from Plaintiff’s claim for hail damage to her home located at 4020

Stone Haven Drive, Garland, Texas 75043-7290, (the “Property”).             Plaintiff alleges that

Defendant breached a policy of insurance, and violated certain provisions of the Texas Insurance

Code and Texas Deceptive Trade Practices Act (“DTPA”) by, among other things, failing to pay

Plaintiff’s claim for damages resulting from an alleged hailstorm.

        On September 24, 2015, Plaintiff filed her Original Petition in the District Court, 160th

Judicial District of Tarrant County, Texas. Safeco was personally served with a citation and a

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copy of Plaintiff’s Original Petition on September 28, 2015 through its registered agent for

service of process. Defendant timely filed an answer to Plaintiff’s Original Petition. This Notice

of Removal is being filed within thirty (30) days of service of the Petition, and is thus timely filed

under 28 U.S.C. §1446(b).

                                                  II.

                                     BASIS FOR REMOVAL

A.      DIVERSITY OF CITIZENSHIP

        Removal is proper because there is complete diversity between the parties. See 28 U.S.C.

§ 1332(a). Plaintiff Mary Jones is a citizen of Texas. See Plaintiff’s Original Petition ¶3. Safeco

Insurance Company of Indiana1 is a corporation organized under the laws of the State of

Massachusetts, with its principal place of business in Boston, Massachusetts.

B.      AMOUNT IN CONTROVERSY

        1.       Standards

        Generally, the amount in controversy for purposes of establishing federal jurisdiction

should be determined by the plaintiff’s complaint. De Aguilar v. Boeing Co., 47 F.3d 1404,

1411-12 (5th Cir. 1995). Here, it is apparent from the face of Plaintiff’s Original Petition

that its claims exceed $75,000.00. In paragraph 69 of the Petition, Plaintiff states that

“Plaintiff seeks monetary relief over $100,000… .” See Plaintiff’s Original Petition, ¶ 69

        Therefore, removal of this action is proper under 28 U.S.C. § 1441(a). This is a

civil action brought in state court and this Court has original jurisdiction over the subject

matter pursuant to 28 U.S.C. § 1332(a). In addition, Plaintiff’s citizenship is diverse

from Safeco. Finally, as alleged in her petition, Plaintiff seeks to recover in excess of




1
 Safeco Insurance Company of America—whom Plaintiff names as defendant in its Original Petition—is a
company organized under the laws of the State of New Hampshire, with its principal place of business in
Boston, Massachusetts.
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$100,000.00 from Defendant. Therefore, the amount in controversy in this case clearly

exceeds $75,000.00.

                       CONSENT TO REMOVAL UNNECESSARY

        Safeco is the only defendant named in Plaintiff’s Petition, thus, no additional

consent is needed for removal.

                                                III.

                      COMPLIANCE PROCEDURAL REQUIREMENTS

        As required by Local Rule 8.1(a), filed concurrently with this Notice of Removal

is a completed civil cover sheet, supplemental civil case cover sheet and a signed

Certificate of Interested Persons that complies with LR 3.1(c).                    Additionally, the

following exhibits are attached:

            •     EXHIBIT A Index of all documents filed in state court;

            •     EXHIBIT B Register of Actions in the state court action;

            •     EXHIBIT C-1-C-2 A copy of each document filed in the state court

                  action.

        Pursuant to Section 28 U.S.C. §1446(d), Defendant will give written notice of filing of

this Notice of Removal to all adverse parties promptly after the filing of same.

        Pursuant to 28 U.S.C. §1446(d), Defendant will file a true and correct copy of this Notice

of Removal with the District Clerk, 160th Judicial District, Dallas County, Texas promptly after

filing of same.

                                                IV.

                                CONCLUSION AND PRAYER

        Based on the foregoing, Defendant Safeco Insurance Company of Indiana respectfully

requests that the above-captioned action now pending in the District Court, 160th Judicial



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District, Dallas County, Texas be removed to the United States District Court for the Northern

District of Texas, Dallas Division.

                                               Respectfully submitted,


                                               /s/ Mark D. Tillman
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                                               JACKSON MABRY
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                                               ATTORNEYS FOR DEFENDANT
                                               SAFECO INSURANCE COMPANY OF
                                               INDIANA



                               CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing has been forwarded
to Plaintiff’s counsel of record via electronic means and/or facsimile, on the 27th day of
October, 2015, in accordance with the FEDERAL RULES OF CIVIL PROCEDURE.

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                                               /s/ Mark D. Tillman
                                               MARK D. TILLMAN
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